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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


 In Re: Granulated Sugar
 Antitrust Litigation
                                                   MDL No. 24-3110 (JWB/DTS)
 This Document Relates to:
 ALL ACTIONS



            NOTICE OF APPEARANCE OF TIMOTHY G. CAMERON

              The undersigned attorney hereby notifies the Court and counsel that

Timothy G. Cameron shall appear as counsel of record for Defendant Louis Dreyfus

Company LLC in this case. This appearance is made without waiver of any defenses.

Please direct all pleadings and correspondence to the undersigned.



Dated: March 28, 2025                       Respectfully submitted,


                                            /s/ Timothy G. Cameron
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